   Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 1 of 61




                   IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF IOWA CENTRAL DIVISION


DRAKE UNIVERSITY,
     Plaintiff,
                                               No. 4:24-cv-227
     vs.
                                               FIRST AMENDED COMPLAINT
DES MOINES AREA COMMUNITY
COLLEGE FOUNDATION and DES                     JURY DEMAND
MOINES AREA COMMUNITY COLLEGE,
     Defendants.




                Here’s to the one who wears the “D”
                             ––Excerpt of Drake University Fight Song (1929)




                                                                John D. Gilbertson
                                                                Joshua J. Conley
                                                                ZARLEYCONLEY PLC
                                                                West Des Moines, Iowa
                                                                for DRAKE UNIVERSITY
          Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 2 of 61




                                                            TABLE OF CONTENTS


TABLE OF CONTENTS .................................................................................................................................... 2
PRELIMINARY STATEMENT ........................................................................................................................... 4
PARTIES ......................................................................................................................................................... 4
JURISDICTION AND VENUE ............................................................................................................................ 5
FACTS ............................................................................................................................................................ 5
          Drake University ................................................................................................................................ 5
                    Drake’s Standalone “D” ........................................................................................................... 6
                              The Vintage Drake “D” ................................................................................................. 7
                              The Modern Drake “D” ............................................................................................... 13
                    The Drake Seal ....................................................................................................................... 17
                    Drake’s Registered Marks ...................................................................................................... 17
                              Marching Spike............................................................................................................ 17
                              The Academic “D” ...................................................................................................... 18
                              The Athletic “D” .......................................................................................................... 19
                    Drake’s Live Mascot––Griff .................................................................................................. 20
                              “Bring Drake to Drake” ............................................................................................... 25
                              Paul Morrison––“Mr. Drake” ...................................................................................... 27
                              Michael Admire––“Face of Drake Athletics” ............................................................. 27
                    The Drake Colors ................................................................................................................... 28
                    Drake’s Brand Standards & Style Guide ............................................................................... 31
                    Drake’s Brand ........................................................................................................................ 31
          Des Moines Area Community College (DMACC) .......................................................................... 32
                    DMACC’s Former Brand....................................................................................................... 33
                    DMACC’s Rebrand................................................................................................................ 36
                    DMACC’s Pending Trademark Applications ........................................................................ 38
                    Launch of DMACC’s New Brand.......................................................................................... 40
                              Institutional and Marketing Launch............................................................................. 40
                              Merchandise Launch.................................................................................................... 41
                              Pre-launch Investigation .............................................................................................. 43
                              Public Reaction ............................................................................................................ 43
                              The Rotary Club Incident ............................................................................................ 44
                    Proximity between Drake and DMACC ................................................................................ 46

                                                                                 2
          Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 3 of 61



                             Geographic Proximity.................................................................................................. 46
                             Competitive Proximity ................................................................................................ 47
         Exemplary Comparisons .................................................................................................................. 48
         DMACC’s Unlawful Activities ........................................................................................................ 50
         Attempts to Reconcile ...................................................................................................................... 51
COUNTS ....................................................................................................................................................... 54
         Count 1: Federal Trademark Infringement (15 U.S.C. § 1114)....................................................... 54
         Count 2: Federal Unfair Competition (15 U.S.C. § 1125(a)) .......................................................... 55
         Count 3: Common Law Trademark Infringement ........................................................................... 56
         Count 4: Common Law Unfair Competition ................................................................................... 56
         Count 5: Injury to Business Reputation – Dilution (Iowa Code § 548.113) .................................... 57
         Count 6: Unjust Enrichment ............................................................................................................ 57
REQUESTED RELIEF..................................................................................................................................... 57




                                                                               3
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 4 of 61




                                    PRELIMINARY STATEMENT

1.     This is an action for infringement of Drake University’s federally-registered trademarks

under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), for unfair competition and false

designation of origin under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and for

substantial and related claims of trademark infringement and unfair competition under the statutory

and common laws of the State of Iowa, all arising from Des Moines Area Community College’s

recently-launched rebrand that incorporates several elements of Drake’s established brand identity,

including, inter alia, a prominent standalone “D” in block-style collegiate font presented in what

is essentially Drake University’s color scheme, in connection with post-secondary educational

services, athletics, and ancillary goods and services.

2.     After months of discussions to resolve this dispute without judicial intervention, Drake

now seeks injunctive and monetary relief to comply with its obligations to police its marks and

protect its brand and how the institution is perceived by every past, present, and future Drake

student and the public.

                                            PARTIES

3.     Plaintiff Drake University (“Drake”) is a nonprofit corporation organized under the laws

of the State of Iowa, with its principal office at 2507 University Avenue, Des Moines, Iowa 50311.

4.     Defendant Des Moines Area Community College Foundation (the “Foundation”) is a

nonprofit corporation organized under the laws of the State of Iowa, with its principal office at

2006 S. Ankeny Boulevard, Ankeny, Iowa 50023.

5.     Defendant Des Moines Area Community College (together with the Foundation,

“DMACC”) is an educational institution with a principal place of business at 2006 S. Ankeny

Boulevard, Ankeny, Iowa 50023.



                                                  4
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 5 of 61




                                 JURISDICTION AND VENUE

6.      This court has jurisdiction over this action pursuant to 15 U.S.C. § 1121, 28 U.S.C. §§

1331, and 1338(a) and (b), and pursuant to the principles of supplemental jurisdiction under 28

U.S.C. § 1367.

7.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1) and (b)(2), in that Defendants

reside in this district and a substantial part of the events or omissions giving rise to the claims

occurred in this district.

                                              FACTS

                                     DRAKE UNIVERSITY

8.      Drake is a private university in Des Moines, Iowa, founded in 1881.

9.      Drake offers more than 140 undergraduate and graduate programs through seven colleges

and schools, one of which is John Dee Bright College (“Bright College”), announced in 2020.

10.     Bright College offers two-year associate degrees and was founded in part to provide

affordable access to higher education.

11.     Since its founding, Drake has consistently offered quality educational services that are

recognized nationwide.

12.     Drake was ranked among the top 100 colleges in the United States by the Wall Street

Journal’s 2024 College Pulse Rankings (the “WSJ Rankings”), which are designed to assist

students and families in their search for the best value in higher education.

13.     Drake was the highest-rated Iowa school on the WSJ Rankings list of 400 institutions and

the only school in Iowa to rank in the top 100.

14.     The New York Times recognized Drake as a top U.S. college with the greatest economic

diversity.



                                                  5
Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 6 of 61
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 7 of 61




                                   The Vintage Drake “D”

19.    Since at least 1902, the standalone “D” has been consistently used in a block-style

collegiate font to denote the source of Drake’s educational services, athletics, and merchandise

(the “Vintage Drake ‘D’”).




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                                               7
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 8 of 61




20.    Drake’s yearbook covers feature the Vintage Drake “D.”




                                              E.g., Exhibit 3
                                                  (1903)




                             E.g. Exhibit 4                     E.g., Exhibit 5
                                (1908)                              (1910)

21.    Drake has used the Vintage Drake “D” on athletic uniforms since at least 1906.




                     E.g., Exhibit 6                                     E.g., Exhibit 7




                                                    8
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 9 of 61




                       E.g., Exhibit 8                       E.g., Exhibit 9

22.    Drake’s letter jackets have featured the Vintage Drake “D.”




                                         E.g., Exhibit 10

23.    Drake’s marketing and recruitment historically includes the Vintage Drake “D.”




            E.g., Exhibit 11             E.g., Exhibit 12              E.g., Exhibit 13
             (circa 1960)                 (circa 1970)                  (circa 1980)


                                                9
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 10 of 61




24.    Drake’s use of the Vintage Drake “D” to denote the source of its goods and services

continues to the present day.




                 E.g., Exhibit 14                            E.g., Exhibit 15




                 E.g., Exhibit 16                            E.g., Exhibit 17




                                           10
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 11 of 61




25.    Drake regularly uses the Vintage Drake “D” on its athletic uniforms.

26.    Exhibit 18 (below) is a photograph of athletic shorts worn by Drake basketball players

during Drake’s Annual “Des Moines’ Hometown Team Weekend.”

27.    The Des Moines Register described the uniforms as including the “traditional Drake

block ‘D’”) (emphasis added):




                                         E.g., Exhibit 18

28.    Drake presently uses the Vintage Drake “D” on the floor of a basketball court in the Knapp

Center, the home of Drake’s basketball teams.




                                         E.g., Exhibit 19


                                                11
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 12 of 61




29.    Drake maintains an active alumni group called the National D Club (the “D Club”).

30.    The D Club is comprised of Drake’s athletic letter winners who pay annual dues to support

Drake Athletics.

31.    The D Club uses the following design as its logo:




                                           Exhibit 20

32.    The D Club administers the Drake Double D Award, which is presented to former Drake

Athletes for achievements in their professions and community service since earning their degrees

from Drake.

33.    The Double D Award is presented as a plaque that includes a pair of letter D’s.




                                         E.g., Exhibit 21




                                               12
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 13 of 61




34.     Since its inception in 1968, the Double D Award has been presented to 257 former Drake

athletic letter winners.

35.     The Double D Award was most recently awarded to Louis Carr, who currently serves as

President of Media Sales at Black Entertainment Television (BET) Networks. Mr. Carr was

presented with the award during the 2024 Drake Relays.

                                    The Modern Drake “D”

36.     In addition to the Vintage Drake “D,” Drake utilizes two versions of a modern standalone

“D” to denote the source of its post-secondary educational services, athletics, and ancillary goods

and services.

37.     The Academic “D” is a stylized “D" with an extended arc that is slightly positioned away

from the stem of the letter.

38.     The Academic “D” appears in official Drake communications and marketing materials.

39.     Drake’s website (www.drake.edu) features the Academic “D” in the upper left corner of

each page.




                                          E.g., Exhibit 22

                                                13
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 14 of 61




40.    The Athletics portion of Drake’s website features a slanted version of the Academic “D”

that appears at the top of every page (the “Athletic ‘D’”):




                                           E.g., Exhibit 23

41.    The Athletic “D” is often, but not always, accompanied by an image of Drake’s bulldog

mascot as seen above.

42.    The exterior of the Knapp Center prominently features the Athletic “D.”




                                           E.g., Exhibit 24

                                                 14
         Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 15 of 61




43.       Drake’s football team emblazons the Athletic “D” on players’ helmets (Exhibit 25 below,

left).

44.       Drake sells university merchandise featuring the Athletic “D” (Exhibit 26 below, right).




                       E.g., Exhibit 25                            E.g., Exhibit 26

45.       Johnny Bright Field at Drake Stadium prominently showcases the Athletic “D.”




                                            E.g., Exhibit 27

46.       The Athletic “D” is used on Iowa personalized license plates.




                                              Exhibit 28

                                                  15
Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 16 of 61
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 17 of 61




                                         The Drake Seal

50.     Since the 1900’s, Drake has used an institutional seal (the “Drake Seal” shown below) to

denote the source of its educational services.




                                             Exhibit 31

51.     The Drake Seal features a traditional lamp of learning (or knowledge) illuminating an open

book.

52.     The Drake Seal appears on numerous Drake materials, including diplomas, degrees,

commencement programs, and official correspondence.

53.     The Drake Seal was a federally registered mark.

                                   Drake’s Registered Marks

                                         Marching Spike

54.     Drake is the owner of valid and subsisting United States Trademark Registration No.

1,567,283 on the Principal Register in the United States Patent and Trademark Office, which has

become incontestable within the meaning of Section 15 of the Lanham Act, 15 U.S.C. § 1065

(“Marching Spike”).

55.     Marching Spike has been registered since November 21, 1989.

56.     Exhibit 32 is a true and correct copy of the Marching Spike registration certificate.


                                                 17
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 18 of 61




57.    Marching Spike is registered in connection with collegiate educational and athletic services

in Class 41, and various clothing items in Class 25.

58.    Marching Spike, shown below, features Drake’s bulldog mascot wearing a sweater

prominently featuring the standalone Drake “D” in the vintage style.




                                        Excerpt of Exhibit 32

59.    No portion of Marching Spike is disclaimed, including the literal element “D” on his

sweater.

                                       The Academic “D”

60.    Drake is the owner of valid and subsisting United States Trademark Registration No.

3,498,202 on the Principal Register in the United States Patent and Trademark Office for the

following mark, which has become incontestable within the meaning of Section 15 of the Lanham

Act, 15 U.S.C. § 1065 (i.e., the Academic “D”).

61.    Exhibit 33 is a true and correct copy of the Academic “D” registration certificate.

62.    The Academic “D,” described at paragraph 36 and shown on the following page, is

registered in connection with collegiate educational and athletic services in Class 41, various

clothing items in Class 25, and beverage containers and other goods in Class 21.



                                                 18
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 19 of 61




                                         Excerpt of Exhibit 33

63.    No portion of the Academic “D” mark is disclaimed.

                                         The Athletic “D”

64.    Drake is the owner of valid and subsisting United States Trademark Registration No.

4,625,043 on the Principal Register in the United States Patent and Trademark Office for the

following mark, which has become incontestable within the meaning of Section 15 of the Lanham

Act, 15 U.S.C. § 1065 (i.e., the Athletic “D”).

65.    Attached as Exhibit 34 is a true and correct copy of the Athletic “D” registration certificate.

66.    The Athletic “D” is registered in connection with collegiate educational and athletic

services in Class 41, various clothing items in Class 25, and beverage containers and other goods

in Class 21.

67.    The Athletic “D” consists of an image of an English Bulldog standing next to a single,

standalone “D” in stylized font as shown below.

68.    No portion of the Athletic “D” is disclaimed.




               Excerpt of Exhibit 34                             Excerpt of Exhibit 34 (cleaned up)

                                                  19
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 20 of 61




                                    Drake’s Live Mascot––Griff

69.    Since 1910, Drake’s mascot has been a bulldog.

70.    Drake has enlisted English Bulldogs from the Des Moines area to serve as its live mascots.

71.    Drake’s current live mascot is known as Griff II (“Griff”) (below, right), who succeeded

the original Griff (below, left) upon his retirement in 2020.




                              Exhibit 35                        Exhibit 36

72.    Griff is named after John L. Griffith who organized the first Drake Relays.

73.    Griff, a certified therapy dog, plays an active role in serving as Drake’s ambassador,

making regular and frequent in-person, digital, and print appearances in connection with

graduations, alumni receptions, admissions materials, sporting events, charity functions, recruiting

fairs, community outreach, social media, advertising, and other official Drake University affairs.

74.    Part and parcel of Griff’s image is his custom-made letter jacket that prominently features

the Vintage Drake “D” (the “Jacket”).




                       Exhibit 37                                    Exhibit 38


                                                 20
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 21 of 61




75.    Griff attends Drake sporting events wearing his Jacket.




                                          E.g., Exhibit 39

76.    Griff is on social media and his profile picture and photos often show him in his Jacket.




                 E.g., Exhibit 40                                  E.g., Exhibit 41




                 E.g., Exhibit 42                                  E.g., Exhibit 43


                                                21
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 22 of 61




77.      Griff appears on television to promote events happening at Drake while wearing his Jacket.




                                   E.g., Exhibit 44                    E.g., Exhibit 45

78.      Griff attends and is photographed in his Jacket at events hosted by Drake.




                                                  E.g., Exhibit 46
      (alongside Representative Liz Cheney at Drake’s Martin Bucksbaum Distinguished Lecture Series in 2024)

79.      Griff is transported to events in his “Griffmobile” which has an image of him wearing his

Jacket on the side of the vehicle.




                                                 E.g., Exhibit 47


                                                       22
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 23 of 61




80.    Griff’s Jacket is such a recognizable symbol of Drake that Drake sells plush “mini-Griffs”

at its bookstore wearing it.




                                          E.g., Exhibit 48

81.    A Griff bobblehead wearing the Jacket and a Griff memoir (with the original Griff on the

cover wearing the Jacket) are available for purchase.




                  E.g., Exhibit 49                                E.g., Exhibit 50




                                                23
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 24 of 61




82.    Griff’s use of the Vintage Drake “D” is not limited to his Jacket; Griff frequently sports

other outfits adorned with the Vintage Drake “D” in appearances and Drake marketing materials.




           E.g., Exhibit 51                   E.g., Exhibit 52                   E.g., Exhibit 53




           E.g., Exhibit 54                                    E.g., Exhibit 55
         (Griff I with Griff II)                          (2023 Video Holiday Card)




                                           E.g., Exhibit 56
                                        (at the Drake Relays)

83.    One reason Griff frequently dons the Vintage Drake “D” is to evoke Drake’s registered

Marching Spike trademark, which Drake has used as a source indicator for post-secondary

educational services, athletics, and ancillary goods and services for over 50 years.

84.    Griff’s wardrobe is designed in part to emphasize the standalone “D” for Drake.

                                                 24
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 25 of 61




                                    “Bring Drake to Drake”

85.    The Jacket is so intrinsically associated with Drake University that when international

superstar rapper, singer, and actor Aubrey Drake Graham (a.k.a. Drake) performed for a sold-out

Wells Fargo Arena in 2016, Iowa Events Center staff in collaboration with Drake’s University

Communications & Marketing Department (“UCM”) commissioned a custom-made Jacket––

identical to Griff’s, only larger––which Drake (the rapper) wore onstage during the concert.




                                          E.g., Exhibit 57

86.    Drake (the rapper) famously followed up the Wells Fargo Arena show with a visit to

Drake’s campus, where he posed for a photograph wearing the Jacket atop Drake’s monument

signage (the “Post”), which garnered hundreds of thousands of impressions on social media.




                                            Exhibit 58

                                                25
      Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 26 of 61




87.    Drake University’s Instagram following doubled in the two days following the Post.

88.    In the immediate aftermath of the Post, visits to Drake’s undergraduate programs page

tripled, and the campus visit page traffic doubled.

89.    On the day of Drake (the rapper)’s visit, Drake’s undergraduate application page saw 1,769

visitors, compared to an average of 750 visitors per day in the preceding month.

90.    The rapper’s visit was not a fluke, but the result of Drake (the university)’s “Bring Drake

to Drake” campaign that made international headlines.

91.    In support of the campaign, legendary Iowa t-shirt maker RAYGUN created a design (still

available eight years later) in which an image of Drake (the rapper)’s head is superimposed on

Marching Spike, which prominently features a standalone “D” on the figure’s chest:




                                             Exhibit 59

92.    The online listing for the t-shirt begins with the description “Who Woulda Thought that

Drake Would Visit Drake?”

93.    The rapper’s visit gained widespread recognition for Drake University and its brand.




                                                26
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 27 of 61




                                 Paul Morrison––“Mr. Drake”

94.     Paul Morrison was a Drake alumnus who returned to Drake in 1945 as the director of the

Drake News Bureau.

95.     After retiring in 1986, Mr. Morrison continued as a volunteer historian for the Drake

athletic department.

96.     Mr. Morrison was known on campus as “Mr. Drake” and was honored by the renaming of

a portion of Forest Avenue in Des Moines, near Drake’s campus, to Paul F. Morrison Way.

97.     Mr. Morrison often made public appearances wearing the Jacket.




                                          E.g., Exhibit 60

                         Michael Admire––“Face of Drake Athletics”

98.     Michael Admire serves as Drake’s Director of Broadcasting.

99.     Mr. Admire is known as the “Face of Drake Athletics.”

100.    Mr. Admire is a courtside, play-by-play broadcaster for Drake s basketball games.

101.    Mr. Admire came to Drake in 2019 to work on the Drake Athletics Communications Team.




                                                27
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 28 of 61




102.    Looking to connect his work with Drake’s long history of excellence both on and off the

court, Mr. Admire adopted a Vintage Drake “D” sweater––an homage to Marching Spike––as his

uniform, both in front of and behind the camera.

103.    Some of the many examples of Mr. Admire wearing the Vintage Drake “D” during his

work on behalf of Drake include:




  E.g., Exhibit 61   E.g., Exhibit 62       E.g., Exhibit 63     E.g., Exhibit 64   E.g., Exhibit 65


104.    The sweater that Mr. Admire wears is similar to that worn by Griff. See ¶ 81, supra.

                                        The Drake Colors

105.    Since 2016, Drake has consistently used the following primary and secondary colors to

denote the source of its post-secondary educational services, athletics, and ancillary goods and

services (the “Drake Colors”):




106.    Prior to 2016, Drake used a blue-dominant color scheme to denote the source of its post-

secondary educational services, athletics, and ancillary goods and services.

                                                 28
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 29 of 61




107.    Drake uses the Drake Colors on its website, www.drake.edu.




                                         E.g., Exhibit 66

108.    Drake uses the Drake Colors in student recruitment and admissions materials.




                                         E.g., Exhibit 67

109.    The Griffmobile is emblazoned with the Drake Colors.




                                         E.g., Exhibit 68

                                               29
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 30 of 61




110.    Drake’s distinctive colors are widely associated with Drake.

111.    The renowned Drake Relays take place on the Blue Oval™.




                                            Exhibit 69

112.    The fire hydrants around the Knapp Center are painted blue and white to let visitors know

they are in “Drake Country.”




                                          E.g., Exhibit 70

113.     RAYGUN currently offers a t-shirt featuring the Athletic “D” under “DES MOINES

LOOKS GREAT IN BLUE.”




                                            Exhibit 71


                                                30
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 31 of 61




                           Drake’s Brand Standards & Style Guide

114.    Drake maintains a publicly-accessible Brand Standards & Style Guide (the “Brand Guide”)

which sets forth some of the various elements of the Drake brand, including fonts, colors (including

Pantone codes), trademarks, and the parameters within which such materials should be presented

in communications and other marketing activities.

115.    The Brand Guide is only intended for internal use by the departments operating within

Drake University.

116.    The Brand Guide opens with a statement that the Brand Guide was:

        created to help us speak with a unified voice, protect our logo and other assets;
        maintain graphic and language continuity; and support powerful; relevant
        messaging that clearly says; ‘This is Drake.’

(emphasis added).

117.    The Brand Guide expressly notes:

        A brand goes far beyond just a logo. It’s the consistent combination of graphics,
        photography style, and language that communicates what’s unique and positive
        about Drake.”

                                         Drake’s Brand

118.    The “Drake Brand” is comprised of one or more of the devices, names, and symbols

reflected in (1) the standalone “D,” (2) the Vintage Drake “D,” (3) the Academic “D,” (4) the

Athletic “D,” (5) the Drake Colors, (6) Griff and his apparel; (7) the Jacket, (8) Marching Spike,

and (9) the Drake Seal. The preceding elements, both alone and in combination, are known as

designating and symbolizing the goods and services of Drake University.

119.    Drake has expended substantial time, money, and resources marketing, advertising, and

promoting goods and services under the Drake Brand and its constituent elements.

120.    The Drake Brand is distinctive to both the consuming public and Drake’s trade.



                                                31
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 32 of 61




121.    As a result of Drake’s expenditures and efforts, the Drake Brand has come to signify the

high quality of Drake’s post-secondary educational services, athletics, and ancillary goods and

services, and has acquired incalculable distinction, reputation, and goodwill belonging exclusively

to Drake.

                  DES MOINES AREA COMMUNITY COLLEGE (DMACC)

122.    Created in 1966, DMACC is a public community college in Iowa that originated in the Des

Moines area.

123.    DMACC operates six academic campuses in Iowa, located in Ankeny, Boone, Carroll,

Newton, West Des Moines, and Downtown Des Moines (the “Urban Campus”).

124.    DMACC operates seven learning centers, located in Ames, Des Moines, Perry, and

Templeton.

125.    DMACC describes itself as the largest college in Iowa with the lowest tuition and fees of

any college in the state.

126.    DMACC spans approximately 2,300,000 square feet among its campuses and learning

centers and has a district of 6,560 square miles covering 22 counties in whole or in part.

127.    DMACC advertises itself as one of America’s top-rated two-year academic institutions.

128.    DMACC partners with other educational institutions to offer four-year degrees.

129.    DMACC seeks admission of new students, returning students, adult students, international

students, guest students, high school students, and nondegree seeking students.

130.    The median age of a DMACC student is 20 years.

131.    During the 2022–2023 academic year, DMACC had more than 72,000 students across its

various levels of education.

132.    Since 2015, DMACC has invested $100,000,000 in new and renovated facilities.



                                                32
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 33 of 61




                                  DMACC’s Former Brand

133.    From 1988 to 2023, DMACC utilized the following design as its primary logo in

connection with post-secondary educational and athletic services (the “Former Logo”):




                                            Exhibit 72

134.    DMACC used a seal as part of its branding from 1966 to 1972, and none since:




                                            Exhibit 73

135.    From 1966 to 1972, the DMACC seal included the lamp of learning, without a book,

encircled by the forms of education available at DMACC, e.g., technical, vocational, etc.



                                               33
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 34 of 61




136.    The Former Logo was commonly stylized in DMACC’s color scheme of navy blue and a

red/orange (“Former Colors”).




137.    DMACC used its Former Logo and Former Colors on its website.




                                       E.g., Exhibit 74

138.    DMACC used its Former Logo and Former Colors on individual DMACC Program

Facebook pages.




                                       E.g., Exhibit 75

                                             34
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 35 of 61




139.    DMACC used, and upon information and belief continues to use, its Former Logo and

Former Colors on campus buildings.




                                           E.g., Exhibit 76

140.    DMACC used its Former Logo and Former Colors on marketing and recruitment kiosks.




                                           E.g., Exhibit 77

141.    DMACC is the owner of U.S. Trademark Reg. No. 4,300,418 for the mark “DMACC” in

connection with educational services at the college level.

142.    Upon information and belief, before October of 2023, DMACC never used a standalone

“D” to denote its name or the source of its goods and services.

143.    Upon information and belief, DMACC never applied for trademark registration of its

Former Logo (in standard character of stylized form) or its prior institutional seals.

                                                 35
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 36 of 61




                                      DMACC’s Rebrand

144.    In late October of 2023, DMACC announced its first rebranding initiative in 35 years (the

“Rebrand”).

145.    Among other changes to its brand identity, DMACC scrapped its Former Logo in favor of

a prominent block-style “D” (the “DMACC ‘D’”).




                     Exhibit 78                                      Exhibit 79
              (in New DMACC Colors)                                 (grayscale)

146.    Since launch, DMACC has used the ™ symbol positioned to the lower right of the DMACC

“D”. See Exhibit 78.

147.    The ™ symbol is used to notify the public of a claim of trademark rights.

148.    DMACC also changed its color scheme, lightening its traditional primary navy blue to a

royal blue, and abandoning its red/orange secondary color in favor of a light blue (the “New

DMACC Colors”).




                                               36
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 37 of 61




149.    DMACC has also adopted an institutional seal (the “New DMACC Seal”) to denote the

source of its educational services.




                                             E.g., Exhibit 80

150.    The New DMACC Seal features a lamp of learning, which for the first time in the

institution’s history is illuminating a book.

151.    The New DMACC Seal includes concentric circles for the first time in the institution’s

history.

152.    The New DMACC Seal prominently displays the five-letter acronym for the institution in

an arc in the upper portion for the first time in the institution’s history.

153.    The New DMACC Seal excludes the encirclement comprised of its forms of education.

154.    In a press release announcing the Rebrand, DMACC’s President, Rob Denson, said

DMACC’s new branding was all developed internally and is the result of several years of research

and collaboration.

155.    In a press release announcing the Rebrand, President Denson noted that much has changed

in higher education since DMACC’s last rebranding in 1988:

        During that time, DMACC has nearly tripled in size, both in student enrollment and
        the number of facilities and locations we have; however, we’ve also worked hard
        to maintain our strong commitment to keeping costs down for students. DMACC


                                                   37
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 38 of 61




        is dedicated to offering high-quality, accessible, and affordable education, with
        tuition and fees that are among the lowest in Iowa.

156.    In a press release announcing the Rebrand, DMACC’s Vice President of Student Affairs

Erica Spiller explained how the Rebrand would help DMACC compete for students hungry for a

more accessible post-secondary educational experience:

        This brand change also relates to how we serve and support students. People of all
        ages are choosing to attend DMACC based on the affordable, flexible and excellent
        education they receive here, along with a vibrant college experience. DMACC is
        one of the largest undergraduate institutes in Iowa, and we want to embrace our
        collegiate atmosphere as we work to further connect with our students’ needs and
        goals.

157.    In a press release announcing the Rebrand, DMACC’s Director of Marketing and Public

Relations Todd Jones stated:

        A brand is more than a slogan, logo, or new graphics; it’s an overall identity and
        helps shape how a company, organization, or educational institution is perceived
        by the people it serves. This is an important opportunity for DMACC to continue
        to grow and modernize while highlighting its reputation as one of the leading
        educational institutions in the state of Iowa.

158.    To modernize its image and perception, DMACC adopted a vintage-style “D.”

                         DMACC’s Pending Trademark Applications

159.    On November 19, 2023, DMACC filed an application to register the following design

mark, U.S. Serial No. 98/277,324 (the “‘324 Application”):




                                               38
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 39 of 61




160.    The description of the ‘324 Application states that the mark “consists of a stylized “D” and

literal element “DMACC.”

161.    DMACC did not disclaim any portion of the ‘324 Application.

162.    On November 21, 2023, DMACC filed an application for registration on an intent-to-use

basis for the following seal, U.S. Serial No. 98/280,535 (the “‘535 Application”) (i.e., the New

DMACC Seal):




163.    The description of the ‘535 Application states that the mark “consists of Stylized outline

of state of Iowa surrounding roman numeral ‘XI’ contained within a stylized badge shape along

with a stylized book and lamp, superimposed over horizontal lines, all of which are within three

concentric circles with stylized laurel between the inner-most and middle circles and the literal

elements ‘DMACC 19 XI 66 Des Moines Area Community College’” [sic].

164.    DMACC did not disclaim any portion of the ‘535 Application.

165.    As of filing, the ‘324 Application and the ‘535 Application have yet to be examined by the

United States Patent and Trademark Office.




                                                 39
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 40 of 61




                                 Launch of DMACC’s New Brand

166.    Upon information and belief, DMACC has deployed its Rebrand across its campuses and

learning centers, its digital and physical recruiting and marketing materials, and merchandise.

167.    Upon information and belief, DMACC intends on continuing to launch its Rebrand across

all facets of the institution both internally and externally.

                                 Institutional and Marketing Launch

168.    DMACC has used the DMACC “D,” the New DMACC Colors, and other elements of its

new brand on billboards, tractor trailers, online videos, college merchandise, social media,

television advertisements, recruitment materials, podiums, banners, wall coverings, basketball

courts, shovels, and hardhats.




                                             E.g., Exhibit 81

169.    Upon information and belief, DMACC ran at least one television ad using elements of the

Rebrand during the Women’s NCAA 2024 basketball championship game between the South

Carolina Gamecocks and the Iowa Hawkeyes.

170.    Upon information and belief, the above-referenced game drew record-setting viewership,

averaging 18.7 million viewers and peaking at 24 million viewers; the first time in history that a

women’s final has drawn a larger TV audience than the men’s final.




                                                   40
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 41 of 61




                                       Merchandise Launch

171.      Upon announcement of the Rebrand, DMACC began selling merchandise heavily featuring

the DMACC “D” unaccompanied by “DMACC” and almost always presented in DMACC’s New

Colors.

172.      DMACC currently has no fewer than 25 such items for sale in its college store, including:




                      Exhibit 82                                      Exhibit 83




                      Exhibit 84                                      Exhibit 85




                                              Exhibit 86


                                                 41
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 42 of 61




173.    According to DMACC’s online bookstore, its 12 most popular items all feature the

DMACC “D” unaccompanied by DMACC.




                                        Exhibit 87




                                           42
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 43 of 61




                                     Pre-launch Investigation

174.    Upon information and belief, individuals involved in conceiving, developing, and

implementing the Rebrand, including President Denson, reviewed Drake’s Brand Guide prior to

announcing the Rebrand in October 2023.

175.    Drake maintains a publicly-accessible archive (http://content.library.drake.edu) of

historical materials, including yearbooks, photographs, marketing materials, student newspapers,

commencement programs, and information on notable events and alumni, such as the Drake

Relays, Johnny Bright, and Charles Wennerstrum (the “Archive”).

176.    Upon information and belief, DMACC did not review the Archive before the Rebrand.

177.    Upon information and belief, no attempt was made on behalf of DMACC to consult, obtain

consent, or discuss the Rebrand with Drake or Drake’s UCM identified in the Brand Guide prior

to launch of the Rebrand.

                                         Public Reaction

178.    DMACC’s rollout of its new brand immediately generated comparisons to Drake among

the public; commenters on a Des Moines Register Facebook post announcing the Rebrand posted:

        a. “Looks a lot like Drake.”

        b. “Very similar to Drake.”

        c. “Looks kinda familiar?”

        d. “DMACC Bulldogs.” (accompanied by the below image).




                                               43
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 44 of 61




        e. “What a waste of time and effort and cost to make this change when it looks so similar

              to Drake. Why?”

        f. “. . . it immediately reminded me of [Drake’s] old logo – it is still an odd choice. Like

              are they wanting to be called Des? They have focused on the first letter of an acronym.”

Exhibit 88.

179.     The first comment on DMACC’s Facebook post announcing the Rebrand reads:

        Isn’t Drake University gonna be pissed you stole their D?

Exhibit 89 (emphasis added).

                                      The Rotary Club Incident

180.    Weeks after the Rebrand launch, the Rotary Club of Des Moines held a holiday event.

181.    The holiday party involved partygoers sitting on Santa Claus’s knee telling him what they

would like for Christmas.

182.    DMACC’s Director of Marketing and Public Relations Todd Jones attended the event.

183.    According to cell phone video of the event, Santa Claus and Mr. Jones discussed the

Rebrand and DMACC’s updated logo, among other things. See Exhibit 90 (video).

184.    With Mr. Jones on his knee, Santa Claus gestured toward a projector screen showing the

Athletic “D” side-by-side with the DMACC “D” with a “vs” between the two to indicate a

competition and/or comparison.




                                           Excerpt of Exhibit 90


                                                    44
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 45 of 61




185.      Santa Claus stated to Mr. Jones, who was still on his knee:

          Santa noticed the colors, though, for the front of that logo look a lot like Drake
          University’s logo. So, I think I am going to have to give you this book on
          Trademark and Copyright Infringement for Dummies.

186.      Amid laughter and applause from the crowd, a man dressed as an elf approached the stage

and presented a copy of Trademark and Copyright Infringement for Dummies to Mr. Jones.




                                          Excerpt of Exhibit 90

187.      After receiving the book and another gift, Mr. Jones without protest only said, “Thank you,

Santa.”

188.      Mr. Jones is a graduate of Drake University.



                                                   45
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 46 of 61




                           Proximity between Drake and DMACC

                                     Geographic Proximity

189.    Three of six (3/6) DMACC campuses and four of seven (4/7) DMACC learning centers are

located within an 8-mile radius around Drake.

190.    The below images show a 10-mile radius around Drake (identified as blue in the epicenter)

with DMACC campuses identified in red and DMACC centers identified in purple.




                                          Exhibits 91, 92

191.    The distance between Drake’s campus and DMACC’s West Des Moines campus is 7.8

miles as the crow flies.

192.    The distance between Drake’s campus and DMACC’s Ankeny campus is 7.7 miles as the

crow flies.

193.    DMACC’s Urban Campus is located 1.2 miles (a 4-minute drive) from Drake’s Legal

Clinic, which is located at the edge of Drake’s campus at 2400 University Avenue.




                                            Exhibit 93

                                                46
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 47 of 61




194.      The distance between Drake’s campus and DMACC’s Southridge Center is 6.2 miles as

the crow flies.

195.      The distance between Drake’s campus and DMACC’s Transportation Institute is 5.3 miles

as the crow flies.

196.      The distance between Drake’s campus and DMACC’s Capitol Center is 3.1 miles as the

crow flies.

197.      DMACC’s Evelyn K. Davis Center for Working Families is 1.3 miles from Drake’s Legal

Clinic.

198.      Drake and DMACC both advertise their educational services in, and draw prospective

students from, central Iowa.

                                        Competitive Proximity

199.      Drake offers two-year Associate of Arts degrees.

200.      DMACC offers two-year Associate of Arts degrees.

201.      On its website, DMACC advertises academic partnerships with at least nine Iowa colleges

and universities, including Drake and the University of Northern Iowa (“UNI”).

202.      Drake students can earn bachelor’s degrees in a variety of disciplines.

203.      Through its UNI@DMACC partnership, DMACC students can earn bachelor’s degrees in

a variety of disciplines that overlap with Drake’s offerings.

204.      DMACC students who earn a bachelor’s degree using the UNI@DMACC partnership do

not need to move to Cedar Falls, Iowa (where UNI is located) to attend classes.

205.      DMACC is the owner of U.S. Trademark Registration No. 6,434,337 for the mark

UNI@DMACC in connection with educational services at universities or colleges.

206.      Drake licenses its trademarks for use with university merchandise and athletic apparel.



                                                  47
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 48 of 61




207.    Upon information and belief, DMACC licenses its name and logo(s) for use with college

merchandise and athletic apparel.

208.    DMACC’s website highlights Drake’s Articulation Agreements with Iowa community

colleges, which permits students with Associate in Arts (“AA”) or Associate in Science (“AS”)

degrees from those community colleges to transfer to Drake having fulfilled the Drake Curriculum

general education requirements, with the exception of the Senior Capstone requirement in the

student’s major(s) area of study.

209.    DMACC’s website highlights the Drake Admission Partnership Program (“DAPP”), which

is for DMACC students who attend DMACC for at least a year before transferring to Drake to

complete their bachelor’s degree.

210.    DAPP includes guaranteed admission to Drake and transfer support after successful

completion of DMACC coursework.

                                  EXEMPLARY COMPARISONS

211.    Below is an image of a DMACC baseball cap currently available for sale (left) and an

image of a Drake baseball cap worn by a Drake student (right):




                 Excerpt of Exhibit 87
                                                                 Excerpt of Exhibit 13



                                              48
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 49 of 61




212.    Below is an image of pet clothing offered for sale by DMACC (left) and an image of a

plush mini-Griff offered for sale by Drake (right):




                    Exhibit 86                                      Exhibit 94

213.    Below is an image of the New DMACC Seal (left) and an image of the Drake Seal that has

been in use for over 100 years (right):




                    Exhibit 80                                       Exhibit 31
                  (not yet in use)                          (in use for over a century)




                                                49
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 50 of 61




214.    Below is an image of the color spectrum identifying where the Drake Colors are located

on the spectrum (above) and the New DMACC Colors are located on the spectrum (below):




                                             Exhibit 95

                             DMACC’S UNLAWFUL ACTIVITIES

215.    The DMACC “D” and the New DMACC Colors and variations thereon are Infringing

Marks of the Drake Brand.

216.    DMACC is presently offering post-secondary educational services, athletics, and ancillary

goods and services (the “Infringing Goods and Services”) under the Infringing Marks.

217.    Upon information and belief, DMACC offers the Infringing Goods and Services through

typical trade channels for goods and services of this nature.

218.    Upon information and belief, DMACC has adopted the Infringing Marks to fraudulently

seek, and take, from Drake the custom, goodwill, and business Drake has established and

maintained through its consistent use of the Drake Brand and its constituent elements.

219.    Upon information and belief, DMACC’s use of the Infringing Marks has caused actual

confusion.




                                                50
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 51 of 61




                                 ATTEMPTS TO RECONCILE

220.    Resolution of this dispute was first pursued informally, with Drake’s Vice President of

Advancement John P. Smith connecting with DMACC’s Todd Jones at the Rotary Club meeting

in late 2023 referenced above to highlight Drake’s concerns about the similarities between

DMACC’s new branding and the Drake Brand.

221.    During the informal meeting, Mr. Jones indicated he had not heard similar concerns about

the Rebrand.

222.    On February 9, 2024, Drake President Marty Martin visited DMACC President Rob

Denson at Mr. Denson’s office at DMACC to discuss Drake’s concerns with the Rebrand.

223.    At the meeting, Mr. Martin handed Mr. Denson a print-out of the following graphic:




                                              Exhibit 96

224.    Mr. Denson remarked that DMACC’s new logo looked similar to the “D” shown above on

the left.

225.    On February 27, 2024, members of Drake’s Marketing and Communications team met with

DMACC’s Vice President of Student Affairs Erica Spiller and DMACC’s Todd Jones to discuss

the matter, including possible resolutions.

                                                 51
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 52 of 61




226.    On March 6, 2024, a follow-up virtual meeting was held to continue discussions.

227.    On March 13, 2024, Mr. Denson emailed Mr. Martin regarding an offer to coexist, stating

“YES, we will only use the ‘D’ with ‘DMACC’ under it.” Exhibit 97 (emphasis added).

228.    On March 20, 2024, Mr. Denson emailed Mr. Martin again, stating,

        As further assurance, the actual [trademark application] we filed has the DMACC
        under it so we will never use it without the DMACC.

Exhibit 97 at 3 (emphasis added).

229.    Upon information and belief, at the time Mr. Denson made the statement in the prior

paragraph, DMACC had already begun selling merchandise featuring the DMACC “D” without

“DMACC” and using it on their campuses and elsewhere. See ¶¶ 171, 172 supra.

230.    DMACC presently has at least 25 items for sale in its online store that use the DMACC

“D” without “DMACC.”

231.    On March 25, 2024, Mr. Martin emailed Mr. Denson to explain why Mr. Denson’s offer

was untenable, stating:

        D for us is Drake and has been for the totality of our existence. D for you is “Des”,
        and thus, does not have the same essentiality for you as it does for us. The D is
        our identity.

Exhibit 97 at 2 (emphasis added).

232.    The next day, Mr. Denson emailed Mr. Martin, stating DMACC has “always emphasized

the “D” in DMACC – you can’t say DMACC without saying the D first.” Exhibit 97 at 1.

233.    Mr. Denson continued:

        Drake’s trademark rights are narrow in scope, as they must be, and limited to a very
        stylized “D” – the one shown in your branding guide. No one is confusing Drake
        and DMACC based on these very different “D” marks, particularly as our
        “DMACC” will be present.

Exhibit 97 at 1 (emphasis added); see also ¶¶ 171, 172 supra.



                                                 52
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 53 of 61




234.    Mr. Denson concluded his March 25 email by referring all future correspondence to R.

Scott Johnson, DMACC’s attorney at Minneapolis-based law firm Fredrikson & Byron P.A.

235.    Per Mr. Denson’s request, a formal cease & desist letter was sent to Mr. Johnson.

236.    Mr. Johnson replied that DMACC’s logo consists of:

        a distinct ‘D’ design always accompanied by the “DMACC” name.

(emphasis added).

237.    Mr. Johnson continued, in part, that:

        we are struggling to understand [Drake’s] insistence on pursuing this matter. … If,
        however, Drake chooses to proceed with this meritless distraction, DMACC is
        prepared to vigorously defend itself and seek all available remedies.

238.    Having exhausted attempts to resolve this dispute amicably, Drake has a legal obligation

to take action to enforce its rights in the Drake Brand to protect not only itself, but the renown,

esteem, and pedigree that all past, current, and future Drake University students have invested in.




                                                53
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 54 of 61




                                              COUNTS

          COUNT 1: FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)

239.     Plaintiff reincorporates all preceding paragraphs as if fully set forth herein.

240.    DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein is

likely to deceive consumers as to the origin, source, sponsorship, or affiliation of DMACC’s goods

and services.

241.    DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein is

likely to cause consumers to believe, contrary to fact, that DMACC’s goods and services are sold,

authorized, endorsed, or sponsored by Drake, or that DMACC is in some way affiliated with or

sponsored by Drake.

242.    DMACC's conduct therefore constitutes trademark infringement in violation of Section 32

of the Lanham Act, 15 U.S.C. § 1114(1).

243.    Upon information and belief, DMACC has committed the foregoing acts of infringement

with full knowledge of Drake's prior rights in the Drake Brand, including Marching Spike, the

Academic “D,” and the Athletic “D,” and with the willful intent to cause confusion and trade on

Drake's goodwill.

244.    DMACC’s conduct is causing immediate and irreparable harm and injury to Drake, and to

its goodwill and reputation, and will continue to both damage Drake and confuse the public unless

enjoined by this court; Drake has no adequate remedy at law.

245.    Drake is entitled to, among other relief, injunctive relief and an award of actual damages,

DMACC’s profits, enhanced damages and profits, reasonable attorneys' fees, and costs of the

action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.



                                                  54
        Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 55 of 61




             COUNT 2: FEDERAL UNFAIR COMPETITION (15 U.S.C. § 1125(A))

246.     Drake reincorporates all preceding paragraphs as if fully set forth herein.

247.     DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein is

likely to deceive consumers as to the origin, source, sponsorship, or affiliation of DMACC’s post-

secondary educational services, athletics, and ancillary goods and services.

248.     DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein is

likely to cause consumers to believe, contrary to fact, that DMACC’s goods and services are sold,

authorized, endorsed, or sponsored by Drake, or that DMACC is in some way affiliated with or

sponsored by Drake.

249.     DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein

constitutes use of a false designation of origin and misleading description and representation of

fact.

250.     Upon information and belief, DMACC’s conduct as alleged herein is willful and is

intended to and is likely to cause confusion, mistake, or deception as to the affiliation, connection,

or association of DMACC with Drake.

251.     DMACC’s conduct as alleged herein constitutes unfair competition in violation of Section

43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

252.     DMACC’s conduct as alleged herein is causing immediate and irreparable harm and injury

to Drake, and to its goodwill and reputation, and will continue to both damage Drake and confuse

the public unless enjoined by this court; Drake has no adequate remedy at law.

253.     Drake is entitled to, among other relief, injunctive relief and an award of actual damages,

DMACC’s profits, enhanced damages and profits, reasonable attorneys' fees, and costs of the

action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.

                                                  55
        Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 56 of 61




                 COUNT 3: COMMON LAW TRADEMARK INFRINGEMENT

254.     Drake reincorporates all preceding paragraphs as if fully set forth herein.

255.     The Drake Brand and its constituent elements are valid trademarks.

256.     The Drake Brand and its constituent elements are sufficiently distinctive so that Drake’s

customers, prospective students, current students, and alumni identify the Drake Brand with the

post-secondary educational services, athletics, and ancillary goods and services offered by Drake.

257.     DMACC’s unauthorized use in commerce of the Infringing Marks as alleged herein

constitutes use of a false designation of origin and misleading description and representation of

fact.

258.     DMACC’s unauthorized use in commerce of the Infringing Marks is likely to cause

confusion among Drake’s customers, prospective students, current students, and alumni.

259.     DMACC’s conduct as alleged herein constitutes trademark infringement under Iowa

common law.

                     COUNT 4: COMMON LAW UNFAIR COMPETITION

260.     Drake reincorporates all preceding paragraphs as if fully set forth herein.

261.     Drake has used devices, names, and symbols that have become known in the trade to

designate the source of its goods and services.

262.     DMACC has fraudulently assumed the same device(s), name(s), and/or symbol(s).

263.     DMACC has taken away and will continue to take away from Drake the custom, goodwill,

and the business that Drake has established and maintained.

264.     Customers and students, prospective or otherwise, are likely to be deceived as a natural

consequence of DMACC’s methods and conduct.

265.     Drake has been damaged by DMACC’s unfair competition.



                                                  56
       Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 57 of 61




 COUNT 5: INJURY TO BUSINESS REPUTATION – DILUTION (IOWA CODE § 548.113)

266.    Drake reincorporates all preceding paragraphs as if fully set forth herein.

267.    The Drake Brand is famous in Iowa.

268.    DMACC’s unauthorized use of the Infringing Marks has caused, and is causing, dilution

of the Drake Brand’s distinctive quality.

269.    Upon information and belief, DMACC has willfully intended to trade on Drake’s

reputation and/or cause dilution of the Drake Brand.

                              COUNT 6: UNJUST ENRICHMENT

270.    Drake reincorporates all preceding paragraphs as if fully set forth herein.

271.    DMACC has been enriched by the use of Drake’s intellectual property and Drake’s

investment therein.

272.    DMACC’s enrichment has come at Drake’s expense.

273.    It is unjust and inequitable to allow DMACC to retain the benefits conferred upon it without

just compensation to Drake.

                                     REQUESTED RELIEF

WHEREFORE, Drake requests judgment against DMACC as follows:

   1. Granting an injunction temporarily, preliminarily and permanently enjoining DMACC, its

        employees, agents, officers, directors, attorneys, successors, affiliates, subsidiaries, and

        assigns, and all of those in active concert and participation with any of the foregoing

        persons and entities who receive actual notice of the Court's order by personal service or

        otherwise from, without Drake’s authorization:

               a.      providing, selling, marketing, advertising, promoting, or authorizing any

               third party to provide, sell, market, advertise or promote educational services,



                                                 57
Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 58 of 61




       athletics, or ancillary goods and services bearing the Drake Brand, in whole or in

       part, or any other mark that is a counterfeit, copy, simulation, confusingly similar

       variation, or colorable imitation of the same;

       b.     engaging in any activity that infringes Drake’s rights in the Drake Brand, in

       whole or in part;

       c.     engaging in any activity constituting unfair competition with Drake;

       d.     making or displaying any statement, representation, or depiction that is

       likely to lead the public or the trade to believe that (i) DMACC’s educational

       services, athletics, or ancillary goods and services are in any manner approved,

       endorsed, licensed, sponsored, authorized, or franchised by or associated, affiliated,

       or otherwise connected with Drake, or (ii) Drake’s educational services, athletics,

       or ancillary goods and services are in any manner approved, endorsed, licensed,

       sponsored, authorized, or franchised by or associated, affiliated, or otherwise

       connected with DMACC;

       e.     using or authorizing any third party to use any false description, false

       representation, or false designation of origin, or any marks, names, words, symbols,

       devices, or trade dress that falsely associate such business, goods and/or services

       with Drake or tend to do so;

       f.     registering or applying to register any trademark, service mark, domain

       name, trade name, or other source identifier or symbol of origin consisting of or

       incorporating any element(s) of the Drake Brand or any other mark that infringes




                                        58
     Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 59 of 61




             or is likely to be confused with the Drake Brand, or any goods or services of Drake,

             or Drake as their source; and

             g.      aiding, assisting, or abetting any other individual or entity in doing any act

             prohibited by sub-paragraphs (a) through (f).


2.    Granting such other and further relief as the Court may deem proper to prevent the public

      and trade from deriving the false impression that any goods or services manufactured, sold,

      distributed, licensed, marketed, advertised, promoted, or otherwise offered or circulated by

      DMACC are in any way approved, endorsed, licensed, sponsored, authorized, or franchised

      by or associated, affiliated, or otherwise connected with Drake or constitute or are

      connected with Drake's educational services, athletics, or ancillary goods and services

      without Drake’s authorization.

3.    Directing DMACC to immediately cease all manufacture, display, distribution, marketing,

      advertising, promotion, sale, offer for sale and/or use of any and all packaging, labels,

      shopping bags, containers, advertisements, signs, displays, and other materials that feature

      or bear any designation or mark incorporating any element(s) of the Drake Brand, in whole

      or in part, or any other mark that is a counterfeit, copy, simulation, confusingly similar

      variation, or colorable imitation of the Drake Brand without Drake’s authorization, and to

      immediately remove them from public access and view.

4.    Directing that DMACC recall and deliver up for destruction or other disposition all goods,

      packaging, shopping bags, containers, advertisements, promotions, signs, displays, and

      related materials incorporating or bearing the Infringing Marks or other mark that is a

      counterfeit, copy, confusingly similar variation, or colorable imitation of the Drake Brand,

      in whole or in part, without Drake’s authorization.

                                               59
     Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 60 of 61




5.    Directing DMACC to formally abandon with prejudice any and all of its applications to

      register the Infringing Marks or any mark consisting of, incorporating, or containing

      element(s) of the Drake Brand, whole or in part, or any counterfeit, copy, confusingly

      similar variation, or colorable imitation thereof on any state or federal trademark registry,

      including U.S. Trademark Application Serial No. 98/277,324.

6.    Directing, pursuant to Section 35(a) of the Lanham Act (15 U.S.C. § 1116(a)), DMACC to

      file with the court and serve upon Drake’s counsel within thirty (30) days after service on

      DMACC of an injunction in this action, or such extended period as the court may direct, a

      report in writing under oath, setting forth in detail the manner and form in which DMACC

      has complied therewith.

7.    Awarding Drake an amount up to three times the amount of its actual damages, in

      accordance with Section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)).

8.    Directing that DMACC account to and pay over to Drake all profits realized by its wrongful

      acts in accordance with Section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)), enhanced

      as appropriate to compensate Drake for the damages caused thereby.

9.    Awarding Drake punitive and exemplary damages as the court finds appropriate to deter

      any future willful infringement.

10. Declaring that DMACC’s conduct as alleged herein is knowingly and willfully intended to

      trade on Drake’s reputation or to cause dilution of the Drake Brand and enter judgment for

      an amount up to three times all profits derived from, all damages suffered from, and

      reasonable attorney fees incurred as a result of, DMACC’s conduct pursuant to Iowa Code

      § 548.114.




                                               60
     Case 4:24-cv-00227-SMR-SBJ Document 17 Filed 07/17/24 Page 61 of 61




  11. Declaring that this is an exceptional case pursuant to Section 35(a) of the Lanham Act and

       awarding Drake its costs and reasonable attorneys' fees thereunder (15 U.S.C. § 1117(a)).

  12. Awarding Drake interest, including prejudgment and post-judgment interest, on the

       foregoing sums.

  13. Awarding such other and further relief as the Court deems just and proper.

                                            JURY DEMAND

Drake hereby demands trial by jury of all issues so triable in this Complaint.



                                             Respectfully submitted,

Dated: July 16, 2024                         ZARLEYCONLEY PLC

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                                                61
